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                                                                            9 L Ihcd

                      UNITED STATES COURT OF APPEALS                        RECEIVED
                                                                            MOLLY C. DWYER, CLERK
                          FOR THE NINTH CIRCUIT                              us:COURT of APPEALS
                                                                                 MAY 272016
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Paul Gordon Whitmore                     9th Cir. Case No. 16-55264                DATE             INITIAL

Appellant,
                                         Originating Court Case No.:14-GV-02949-DMS-BGS

               vs.

JtL RY DORT, ADA SD County; et al.
Appellee(s).


                        APPELLANT'S INFORMAL BRIEF
                         (attach additional sheets as necessary)

1.    Jurisdiction

      a.       Timeliness of Appeal:

               (i)    Date of entry of judgment or order
                      of originating court: Feburary 4, 2016

               (ii)   Date of service of any motion made after judgment (other than
                            for fees and costs): '   a

               (iii) Date of entry of order deciding motion: Feburary 4, 2016

               (iv) Date notice of appeal filed: February 16, 2016

               (v)    For prisoners, date you gave notice of appeal to prison
                            authorities: February 10, 2016
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 2.      What are the facts of your case?
      (From the First Amended Complaint, SD form page 3)
      The source of aK the evidence used at trial, to get search and arrest
warrents, were secondary from a computer in Denmark. This computer, along with
numerous documents and reports, was destroyed by the Danish Police three years
before trial. At no time did any of the Defendants make any effort to secure
the source of the evidence for examination by forensics, either prosecution
or defense.
      DORT was responsible for the entire prosecution team, and was very involved
with the investigation from before the Plaintiff's arrest.
      GUERRA was the lead investigator, responsible for maintaining all evidence
for trial and defense. Before the destruction, she was in Denmark on at least
two occasions and could easily have secured the computer and reports.
      PFT.NGSr was the elected DA for San Diego County during the first year
of Plaintiff's arrest and the years before the arrest. He was intimntely
involved with the decisions in the case, a very high-profile case with lots
of press.
      DOES 1-5 were officers in the SD Sheriffs Office or SD Police Dept who
assisted or were assigned to GUERRA for the investigation. They too were responsible
for preserving the evidence for trial.

NCYIE: See attached narrative Brief for further information.
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 3.    What did you ask the originating court to do (for example, award damages,
       give injunctive relief, etc.)?
Compensatory Damages of $500,000**; Punitive Damages of $4,500,000**




 4.    State the claim or claims you raised at the originating court.
The following Civil Right has been violated: Due Process under the 6th and
14th Amendments to the U.S. Constitution.




 5.    What issues are you raising on appeal? What do you think the originating
       court did wrong?
(1) The District Court erred in finding that the action was barred by Heck v
Homey (1994) 512 U.S. 477, 129 L.Ed.2d 383, 114 S.Ct. 2364.
() the District Court erred in finding that Al Defendants were absolutely
immune to suits seeking monetary damages.
NOTE: Please see attached narrative BRief for argi.unent and citations.
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 6.    Did you present all issues listed in #5 to the originating court?
Yes.
          ypg       If not, why not?
       Yes/No




 7.    What law supports these issues on appeal?
       (You may, but need not, refer to cases and statutes.)

Most on point is Trimble v City of Santa Rosa (CA9 1995) 49 F.3d 49
Mendez v Co. of Bernardino (CA9 2008) 540 F.3d 1109; Buckley
v Fitzsimmons (1983) 509 U.S. 259, 125 L.Ed.2d 209, 113 S.Ct. 2606;
Burnes v Reed (1990) 500 U.S. 478, 114 L.Ed.2d 547, 111 S.Ct. 1934.
Please see the attached Brief narrative for further argument
and citations.
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8.     Do you have any other cases pending in this court?       No
       If so, give the name and docket number of each case.




9.     Have you filed any previous cases which have been decided by this court?
       If so, give the name and docket number of each case.
Whitmore v Cate, SD No.: 09-CV-001324-MMA-I
                 9th Circuit No.: 12-56751
                  U.S. Supreme Court: 13-8472


10.    For prisoners, did you exhaust all administrative remedies for each claim
       prior to filing your complaint in the district court?
To Plaintiff/Appellant's knowlege, there are no administrative remedies.




 Paul Gordon t itmore
Name                                           ignature
 CSP-Corcroran

 P.O. Box 3471
Address
 Coran, 9A 93212-3471
       aq
 4;rT Rb1(2
Date
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                           INDEX OF CITATIONS
Ashelman v Pope (CA9 1986) 793 F.3d 1072                                       9
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                            116 S.Ct. 1589
Boag v MacDougall (1982) 454 U.S. 364, 70 L.Ed.2d 551                           2
                         102 S.Ct. 700
Brady v Md. (1963) 373 U.S. 83                                             4, 9
Buckley v Fitzsimmons (1983) 509 U.S. 259, 125 L.Ed.2d 209                     10
                             113 S.Ct. 2606
Burns v Reed (1990) 500 U.S. 478, 114 L.Ed.2d 547                              10
                    111 S.Ct. 1934
Carey v Piphus (1978) 435 U.S. 247, 98 S.Ct. 1042                              9
Gantt v Co. of Los Angeles (CA9 2003) 71 F.3d 702                              11
Gobels v Maricopa Co. (CA9 1989) 867 F.2d 1201                          10, 11
Imbler v Pachtman (1975) 424 U.S. 409, 96 S.Ct. 984                             9
Haines v Kerner (1972) 404 U.S. 519. 30 L.Ed.2d 652                             2
                       92 S.Ct. 594
Heck v Humphrey (1994) 512 U.S. 477, 129 L.Ed.2d 383                           6
                       114 S.Ct. 2364
Jackson v Barnes (CA9 2013) 749 F.3d 755                                       6
Levka v Chicago (CA7 1984) 748 F.2d 421                                         9
Mendez v Co. of Bernardino (CA9 2008) 540 F.3d 1109                             8
Pearson v Callahan (2009),555 U.S. 233, 129 S.Ct. 808                          11
Poventud v City of NY (CA2 2014) 750 F.3d 121                                   6
Skinner v Switzer (2010) 131 S.Ct. 1289                                        6
Smith v Wade (1982) 461 U.S. 30, 75 L.Ed.2d 632                                 8
                    103 S.Ct. 1625
Tennison v Co. of San Francisco (CA9 2008) 570 F.3d 1078 -                     11
Triable v City of Santa Rosa (CA9 1995) 49 F.3d 483                             7
                                   _i_
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Wilkinson v Dotson (2005) 544 U.S. 74, 161 L.Ed.2d 253                         6
                          125 S.Ct. 1242 ,
Williams v Kaufman Co. (CA5 2003) 352 F.3d 994, 1015                           9
Wolf v MacDonnell (1974) 418 U.S. 539, 41 L.Ed.2d 935                          7
                         94 S.Ct. 2963
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Paul Whitmore
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In Pro Se


                  IN THE UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT


PAUL GORDON WHITMORE,                           16-55264
          Plaintiff,(Appellant,                 DC No.: 3:14-CV-02949-DMS-BGS

    V.
                                                BRIEF IN SUPPORT OF APPELLANT'S
                                                OPENING ARGUMENTS
JEFF DORT, et al.,
          Defendants/Appellees.


    NOW COMES APPELLANT, PAUL WHITMORE, on appeal from a dismissal
without prejudice of a civil rights suit pursuant to subsection. 1983.
Appellant/Plaintiff Whitmore is suing the San Diego County District
Attorneys and Sheriff's officers (and possibly San Diego City
Police via John Does) for thier deliberate indifference in allowing
the Danish Police and Danish National Police to destroy federal
codefendant Eggert Jensen's computer and data storage devices,
most of the police reports., interviews and related documents,
more than three years before trial, without any U.S.-based forensic
examination nor giving the defense team access to the source of
the evidence used at trial to convict him. (Eggert Jensen is
a Danish national.) At the time of destruction, May 2002 Appellant/
Plaintiff Whitmore was voluntarily in custody, choosing not to
'bail-out', had not had a grand jury nor preliminary trial, nor

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was Appellant felony-arrained until one year after the destruction
had occured.
   Pro Se Appellant Whitmore is neither learned nor lettered
in the law, and therefore prays this court for the liberal reading
of pleadings and to not be held to the strict standards of form
and format expected of litigants represented by skilled and experienced
lawyers. (Boa& v MacDougall (1982) 454 U.S. 364, 102 S.Ct. 700,
70 L.Ed.2d 551; Haines v Kerner (1972) 404 U.S. 519, 92 S.Ct. 594,
30 L.Ed.2d 652)


                       BRIEF HISTORY OF THE CASE
    In November of 2001, the Swedish organization 'Save the Children'
received an anonymous tip that 'new' child pornography had been
uploaded to an Internet Newsgroup. The director of the organization,
Per-Erik Angstrom, found the child pornography referrenced in
the tip, found that it was different than any previously posted,
and also noticed that the perpatrator could be seen clearly,
wearing his workshirt with the company name and his name embroidered
on the pocket. After a couple brief phonecalls, the Danish National
Police arrested Eggert Jensen of Tarm, Denmark, later the same
day the tip came in.
    Evidence collected at the Jensen apartment led the Danish
police to contact U.S. Customs (now ICE) in Germany, in December
of 2001. Customs then contacted U.S. Sheriff's in the California
cities of Clovis and San Diego. Named Defendant, San Diego Sheriff
Detective Stephanie GUERRA, received an e-mail from them, encrypted,
with several allegedly pornographic photographs that Guerra then
used to obtain search and arrest warrents. Finally in January 27,
2002, Guerra and other officers from several agencies came to
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arrest Appellant Whitmore. This became a world-infamous case,
resulting in over 200 inditements, in over 20 states and over
10 countries, the first of the big, Internet 'kiddy-porn' conspiracies,
dubbed 'Operation Hamlet."
    Defense counsel made numerous motions for discovery of the
source information, how interviews were conducted, how police
in Denmark connected A to B, reports and notes on process and
procedures used, all to no avail. Numerous requests for sanctions
against the prosecution were made and denied. As Appellant Whitmore
was prosecuted both in federal and state jurisdictions, he was
transported between San Diego (state) and Clovis (federal) greatly
delaying both proceedings. The preliminary trial did not occur
until September of 2003, and resulted in Appellant's felony, arrainment.
    Trial came in October 2005. When Lars Underbjerg of the Danisg
National Police came to testify in an EC 403 evidentiary hearing,
the defense team learned that all the evidence that had been
requested and NOT discovered to the defense team had, in fact,
been destroyed along with the computer that was the source of
all the alleged child pornography, back in May 2002.
    No one had thought to retain this evidence for the defense
team, or even the prosecution team who then required the evidentiary
hearing to admit the evidence with little chain of evidence.
No U.S. officers had done forensic work on the Danish computer either.
Detective Guerra testified that she had `numerous' communications
with Underbjerg in Denmark and had even flow out to visit him
prior to the destruction (in March 2002). Guerra was a senior
officer with the Sheriff's Office, and had more than ten years
experience handling evidence with drug enforement. Guerra was
now with an interdepartment, national task force,. the Internet,
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Crimes Against Children (ICAO) and was the lead investigator
since receiving the e-mail from Underbjerg in December 2001.
    Appellant Whitmore was convicted after five weeks of trial
of fifty felony counts and one misdemeanor. The jury deliberated
less than five hours. In March 2006, Appellant was sentenced
to 465 years and 8 months - to - life.
    Direct appeal was denied (conviction affirmed) by the state
court of appeals and review denied by the state supreme court.
In August 2009, Appellant filed pro se in the U.S. District Court
for a,writ of habeas corpus pursuant to subsection 2254, repeating
the same issues from the state appeal. This was denied, Certificate
of Appealability was denied by the 9th Circuit, and in January
2014 the Supreme Court of the US denied certiorari.
    On direct appeal, the issue of evidentiary manipulations
via destruction of the evidence, failure to establish authentication,
failure to establish chain of evidence, and related evidentiary
problems were all raised. As appointed counsel for appeal, Patrick
Foud, esq, stated in the direct appeal, the prosecution committed
a 'preemptive rad -violation' by allowing the Danish to destroy
all the source evidence, using officers simply relating what
they remembered as-evidence instead of having reports and interviews
that the defense could review. The prosecution made this a piviotal
and essential element of the prosecution. (Brady v Md. (1963)
373 U.S. 83) Had this Brady not occured, Appellant argued, then
the case would have collapsed for lack of foundation and proof
of criminal intent and activity.
    The courts reviewing the case, however, disagreed with Appellant
Whitmore's contentions. The state Court of Appeals and the federal

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District Court, in reasoned decisions, found that, if error had
occured, it was harmless error - given the mountain of evidence
adduced at trial. Neither court ruled on the merit, only that
any error was harmless. This circular logic was supported by
the Court of Appeals and the U.S. Supreme Court. No court has
ever ruled on merit of the evidentiary errors alleged as, even
if there were errors, they were all harmless.
    On December 12, 2014, Appellant filed a civil rights complaint
pursuant to subsection 1983 against the Defendants, allegigg that
the Due Process clauses of the 6th and 14th Amendments were violated
by the Defnedants making no effort to preserve the source materials
of all the evidence used at trial. This was dismissed with „leave
to ammend. Plaintiff/Appellant filed a First Amended which was
dismissed without prejudice but without leave to ammend for (1)
falling to state a claim under which relief could be granted
and (2) seeking monetary damages against immune defendants. Appellant
filed notice of appeal on February 16, 2016.


                                  ARGUMENT
    Appellant wishes to no that, when the Dist rict Court dismissed,
there was an error in the Order. On page 2, "Plaintiff has now
filed a First Amended Complaint naming the same defendants."
This is incorrect, Appellant on filing the First Amended dropped
Bonnie Dumanis as a defendant. Appellant is certain this was
an oversight by the court, but it should be corrected if this
case is reinstated.
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I. THE FIRST AMENDED COMPLAINT IS NOT BECK BARRED
     (Heck v Humphrey (1994) 512 U.S. 477, 129 L.Ed.2d 383, 114 S.Ct. 2364)
a.   A Brady Allegation Does Not Necessarily Predicate a Heck Bar
     On page 4 of the Order (Exhibit A) the District Court states,
"Plaintiff was informed that a claim alleging a Brady falls under
the Heck bar." This is incorrect. In Poventud v City of NY (CA2 2014)
750 F.3d 121, the Court of Appelas found that Poventud's Brady
claim did not necessarily imply the invalidity of the conviction.
Poventud had received an overturn and took a plea bargain. This
plea bargain insulated the criminal conviction from the civil
action. Similarly in Jackson v Barnes (CA9 2013) 749 F.3d 755,
this Court found that retrial, post-overturn, also insulates
the criminal conviction from the civil action.
     Even in cases involving Brady, the court must look past the
conviction to see if the plaintiff were successful, would this
necessarily implicate the validity of the conviction.


b. Heck Bar Applies Only to Conflict Between Criminal and Civil Actions
     When contesting the validity of a conviction, the only avenue
available to the convicted person is habeas corpus. "We think
the hoary principles that tort civil actions are not an appropriate
vehicle to challenge the validity of outstanding criminal judgments..."
should remain the law of the land. (Heck, supra, @ 2372) In both
Wilkinson v Dotson (2005) 544 U.S. 74, 161 L.Ed.2d 253, 125 S.Ct. 1242,
and Skinner v Switzer (2010) 131 S.Ct. 1289, the Supreme Court
both supported the Heck ruling, but also clarified what the Heck
bar isn't. If favorable judgment under 1983 does not necessarily
imply the invalidity of the underlying conviction or result in

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       speedier release, then the 1983 action is NOT barred.
    The High Court in Heck, supra, specifically allowed prisoners
to bring 1983 claims for using wrong procedures, but not for
getting wrong results. (Heck @ 482-83) In Wolf v MacDonnell (1974)
418 U.S. 539, 41 L.Ed.2d 935, 94 S.Ct. 2963, the court found
that section 1983 claim raised by Wolf, "... did not call into
question the lawfulness of plaintiff's continuing confinment."
Instead, Wold had challenged the process used to determinego
                                                          d od-
time credits not the awarding of the credits themselves. Damages
were awarded for a free-standing civil rights issue, Due Process
under the 14th Amendment,and the case proceeded.
    This Court, in Trimble v City of Santa Rosa (CA9 1995) 49
F.3d 583, stated that a finding of 'harmless error' could act
to insulate the criminal conviction from civil action since, if
a finding that the error occured, it would still be harmless
to the criminal conviction. "In Heck, the Supreme Court concluded
that because of doctrines like independent source, inevitable
discovery, and harmless error, a successful section 1983 action
for an unreasonable search 'would not necessarily imply that
plaintiff's conviction was invalid." (@585, Citing Heck, supra,
@ 2372-3, n.7, underline added)
    In the instant case, destruction of the source of the evidence,
computer and drives, reports, etc, eliminated the source of the
evidence both inculpable and exculpable, if any. HOWEVER, all
courts reviewing this case for appeal and habeas corpus,                found
that if any error occured, then this error was harmless. Therefore,
even if district court finds for the Appellant and awards damages,
the underlying conviction is not implicated-and the sentence is

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not invalidated.
    Appillant is challenging the process of evidence collection
and management, not the outcome of such evidence. Appellant
does not allege that his conviction is invalid, only that the
evidence collection process used violated his Due Process rights.
Since this issues has already been found 'harmless' to the criminal
conviction, there is no conflict.


c. Harmless Error Does Not Preclude Damages in a 1983 Action
    In BMW of No.Am. v Gore (1995) 517 U.S. 559, 134 L.Ed.2d 809,
116 S.Ct. 1589, the Supreme Court held that damages can be awarded
to punish and deter further unlawful conduct. They further recognized
that, "punitive damages (may be used] to remove the profit of
the illegal activity and be in excess of the profit so that the
defendants will recognize the loss." (@ 591) In Mendez v Co.
of Bernardino (CA9 2008) 540 F.3d 1109, this Court found that
constitutional torts (like the-instant case) are far more likely
to have no compensatory damages, however, "the Court's (SCOTUS)
clear guidance that punitive damages should remain available
even in the absence of a compensable injury..." (@ 1122)
   .In Smith v Wade (42982) 461 U.S. 30, 75 L.Ed.2d 632, 103
S.Ct. 1625, the High Court found that, "compensatory damages
... fulfill the goal of compensation, ... leaving only deterrence
to be served by awards of punitive damage." "A jury may be permitted
to asses punitive damages in an action under section 1983 when
the defendants' conduct is shown to be motivated by evil intent
or motive, if it involves reckless or callous indifference to
the federally protected rights of others." (underline added)

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    Several courts have held that emotional injury is compensable
for a constitutional civil rights violation, as long as the case
is not under the Prison Litigation Reform Act (PLRA). (See for
example, Levka v Chicago (CA7 1984) 748 F.2d 421, emotional damages
for a strip search.) In Carey v Piphus (1978) 435 U.S. 247, 98
S.Ct. 1042, the Court held that where there is no injury, there
can be no compensatory damages, however emotional injury can
be compensated (except under PLRA, of course). (Also see Williams
v Kaufman Co. (CA5 2003) 352 F.3d 994, 1015)
    The instant case is not a PLRA case as it does not involve
the nature nor conditions of confinment. As such, Appellant can
argue the worsening of his depression as the result of the civil
rights violation and use this as an actual injury for compensatory
damages. While Appellant Whitmore does plan to use any funds
that proceed from his suit to attack his conviction on collateral
habeus corpus, this is not such an attack.


II. NAMED DEFENDANTS ARE NOT ENTITLED TO IMMUNITY
a. Prosecutors are Not Entitled to Inmaaunity in this Action
    The initial case establishing immunity 16r prosecutors from
Brady actions waslmbler v Pachtman (1975) 424 U.S. 409, 96 S.Ct. 984.
However, this was for actions of the prosecutor during trial,
as an officer of the court, and was immune due to the quasi-judicial
nature of the prosecutor's actions. "... imunity extends to a
prosecutor who acts with in his authority and in a quasi-judicial
capacity." (Ashelman v Pope (CA9 1986) 793 '.3d 1072 @ 1076)
"While a prosecutor's preperation for the initiation of the criminal
process may require obtaining, reviewing, and evaluating evidence,

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at some point the prosecutor stops functioning as an officer
of the court and loses the protection of absolute immunity."..
(Gabel v Maricopa Co. (CA9 1989) 867 F.2d 1201 @ 1076) "Numerous
courts have held that prosecutors are not entitled to absolute
immunity when they take part in the preliminary gathering of
evidence that may ripen into a potential prosecution." (Ibid,
@ 1204)
    In Buckley v Fitzsimmons (1983) 509 U.S. 259, 125 L.Ed.2d
209, 113 S.Ct. 2606, the Supreme Court established the *functional
approach" (@ 269) to analyizing whether the prosecutor is immune
or not to prosecution. Actions that are investigative or administrative
are not immune. In Burns v Reed (1990) 500 U.S. 478, 114 L.Ed.2d
547, 111 S.Ct. 1934, the High Court definitively stated that
prosecutors are not immune when they give advice to the police
(or a Sheriff's detective) during the investigation.
    Should Appellant be able to discover evidence that either
or both Dort or Phingst advised the Sheriff's officers about
evidence collection involving Denmark, then this advice or lack
of advice would be actionab le and not immune. This would be
both 'investigative' as it occurs outside the pervue of the prosecution,
and also 'administrative' as it is advice to an investigatory
agency. The high Court has already ruled that such conduct is
not immune.


b. Investigators are Not Immune to Brady Suits
    District Court cited Gob ls, supra, @ n.5, and quoted, "...
investigators, employed by a prosecutor and performing investigative
work are entitled to the same degree of immunity as prosecutors."

                                          10
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The court then used this to explain why named Defendants were
immune to prosecution. This was in error. The 9th Circuit clearly
state that investigators 'employed by the prosecutor' have immunity.
Go els hinged on the fact that the court could not tell who the
investigator worked for, so assumed it was the prosecutor. However
in the instant case, , the investigator worked for the Sheriff's
office and the Sheriff has no absolute immunity.
    In Tennison v Co. of San Francisco (CA9 2008) 570 F.3d 1078,
this Court held that investigators are not entitled to immunity
from Brady suits under section 1983. "Suppression of evidence
violates Due Process when evidence is material to guilt or punishment,
irrespective of good or bad faith." (Tennison, supra) This Court
also found that there is no immunity of prosecutors or investigators
for Brady or Giglio violations that occur in the investigatory
phase of the case. (Gantt v CO. of Los Angeles (CA9 2003) 71
F.3d 702) The Supreme Court found that the qualified immunity
of investigators_ does not protect them when they allow violations
of ounstitutional law. (Pearson v Callahan (2009) 555 U.S. 233,
129 S.Ct. 808)
    In the instant case, named Defendants GUERRA and DOES 1-5
are either employed by the Sheriff's office (as is GUERRA) or
the San Diego Police (possibly DOES) and NONE are employed by
the prosecutor's office. As such, there is no conferred immunity.
Brady has been the law of the land for over fifty years and to
think that none of these seasoned investigators and prosecutors
in a high-profile case thought to preserve the evidence is unthinkable.
This is the definition of deliberate indifference. There can
be ho immunity for the investagators and , if Appellant can show
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that DORT or PHINGST were involved in the investigation, or that
they advised the investigator(s) about evidence collection in
Denmark, then they are not immune either.


                 CONCLUSION AND PRAYER TO THE COURT
    In this case, ther is no Heck bar as the 'harmless error'
already adjudicated insulates the criminal conviction from the
civil action. The prosecutor(s) were acting as investigators
and have no absolute immunity, and if this cannot be shown, then
advice given regarding the evidence co&;ection in Denmark could
also breach their immunity. Sheriff's officers and police officers
HAVE no immunity to constitutional violation like Brady.
    Appellant prays this court reinstate this action, and order
the district court to order service on the Defendants.
                                         espee ful.l.y Submitted,




I declare under penalty of perjury under the laws of the United States
that the foregoing is both true nd corre t.




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                                                                       to
                                to




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1
2
3
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5
6
 7
 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   PAUL GORDON WHITMORE,                             Civil No. 14cv2949-DMS (BGS)
12   CDCR #G-40654,
                         Plaintiff,                    ORDER SUA SPONTE
13                                                     DISMISSING CIVIL ACTION FOR
                          vs.                          FAILING TO STATE A CLAIM
14                                                     AND FOR SEEKING MONETARY
                                                       DAMAGES AGAINST IMMUNE
15   JEFFREY DORT, et al.,                             DEFENDANTS PURSUANT TO 28
                                                       U.S.C. §§ 1915(e)(2) & 1915A(b)
16                                  Defendants.
17
18         On December 12, 2014, Paul Gordon Whitmore ("Plaintiff'), a state prisoner
19 incarcerated at Corcoran State Prison located in Corcoran, California, filed a civil rights
20 complaint ("Compl.") pursuant to 42 U.S.C. § 1983, accompanied by a Motion to
21 Proceed In Forma Pauperis ("IFP") pursuant to 28 U.S.C. § 1915(a). (ECF Nos. 1-2.)
22 The Complaint alleged violations of Plaintiff's due process rights arising from the
23 destruction of evidence allegedly relevant to his defense in his San Diego County
24   Superior Court criminal trial, resulting in his inability to secure a favorable plea bargain
25 or a shorter prison sentence. (Comp!. at 3-4, 19-21.) The Complaint sought monetary
26 damages from the prosecuting attorney, the lead investigating detective, two elected San
27 Diego County District Attorneys, and Does 1-5, who were identified as the individuals
28 responsible for obtaining or preserving the evidence. (Id at 2.)

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1           On April 16, 2015, the Court denied the IFP motion without prejudice due to
2 Plaintiff's failure to provide the Court with a copy of his inmate trust account statement
3     as required by 28 U.S.C. § 1915(b)(1). (ECF No. 3.) Plaintiff thereafter renewed his IFP
4 motion, accompanied by the required trust account statement. (ECF Nos. 4, 6-7.)
 5          On October 7, 2015, the Court granted Plaintiff's renewed IFP motion, but
 6 dismissed the Complaint without prejudice because Plaintiff sought monetary damages
 7 from defendants who are immune from suit for monetary damages, and because
 8 Plaintiff's claims necessarily implied the invalidity of his criminal conviction and were
 9 therefore barred by the doctrine announced in Heck v. Humphrey, 512 U.S. 477, 486-87
10 (1994). (ECF No. 8.) Plaintiff was granted leave to file a First Amended Complaint
11 which cured these defects of pleading. (Id.)
l2'         Plaintiff has now filed a First Amended Complaint naming the same Defendants.
13    (ECF No. 9.) For the following reasons, Plaintiff has not cured the defects of pleading
14    identified in the Court's previous Order of dismissal, and the First Amended Complaint
15 is therefore subject to dismissal. Additionally, because it is now clear that Plaintiff is not
16 able to cure the defects of pleading, the dismissal is without further leave to amend.
17    I.     SUA SPONTE SCREENING PER 28 U.S.C. § 1915(e)(2) and § 1915A

18           A. Screening Standard
19           The Court must review complaints filed by all persons, like Plaintiff, who are
20 proceeding IFP and who are "incarcerated or detained in any facility [and] accused of,
21 sentenced for, or adjudicated delinquent for, violations of criminal law or the terms or
22 conditions of parole, probation, pretrial release, or diversionary program," "as soon as
23 practicable after docketing." See 28 U.S.C. §§ 1915(e)(2) and 1915A(b). Pursuant to
24 these statutes, the Court must sua sponte dismiss complaints, or any portions thereof,
25 which are frivolous, malicious, fail to state a claim, or which seek damages from
26 defendants who are immune. See 28 U.S.C. §§ 1915(e)(2)(B) and 1915A; Lopez v.
27 Smith, 203 F.3d 1122, 1126-27 (9th Cir. 2000) (en bane) (§ 1915(e)(2)); Rhodes v.
28 Robinson, 621 F.3d 1002, 1004 (9th Cir. 2010) (discussing 28 U.S.C. § 1915A(b)).

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 I          All complaints must contain "a short and plain statement of the claim showing
 2 that the pleader is entitled to relief," FED.R.Civ.P. 8(a)(2). Detailed factual allegations
 3 are not required, but "[t]hreadbare recitals of the elements ofa cause of action, supported
 4 by mere conclusory statements, do not suffice," Ashcroft v. Igbal, 556 U.S. 662, 678
 5 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544,555 (2007)). "Determining
 6 whether a complaint states a plausible claim for relief [is] ... a context-specific task that
 7 requires the reviewing court to draw on its judicial experience and common sense." Id.
 8 at 679. The "mere possibility of misconduct" does not meet this standard. Id.
 9         "When there are well-pleaded factual allegations, a court should assume their
10 veracity, and then determine whether they plausibly give rise to an entitlement to relief."
11 Igbal, 556 U.S. at 679; see also Resnick v. Haves, 213 F.3d 443, 447 (9th Cir. 2000)
12 ("[W]hen determining whether a complaint states a claim, a court must accept as true all
13 allegations of material fact and must construe those facts in the light most favorable to
14 the plaintiff."); Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir. 1998) (noting that
15 § 1915(e)(2) "parallels the language of Federal Rule of Civil Procedure 12(b)(6)").
16         However, while the court has an obligation "where the petitioner is pro se,
17 particularly in civil rights cases, to construe the pleadings liberally and to afford the
18 petitioner the benefit of any doubt," Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010),
19, quoting Bretz v. Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir. 1985), it may not, in so
20 doing, "supply essential elements of claims that were not initially pled." Ivey v. Board
21 of Regents of the University of Alaska, 673 F.2d 266, 268 (9th Cir. 1982).
22          B.    42 U.S.C. § 1983
23         "Section 1983 creates a private right of action against individuals who, acting
24 under color of state law, violate federal constitutional or statutory rights." Devereaux
25 v. Abbey, 263 F.3d 1070, 1074 (9th Cir. 2001). Section 1983 "is not itself a source of
26 substantive rights, but merely provides a method for vindicating federal rights elsewhere
27 conferred." Graham v. Connor, 490 U.S. 386, 393-94(1989) (internal quotation marks
28 omitted). "To establish § 1983 liability, a plaintiff must show both (1) deprivation of a

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 1 right secured by the Constitution and laws of the United States, and (2) that the
 2 deprivation was committed by a person acting under color of state law." Tsao v. Desert
 3 Palace, Inc., 698 F.3d 1128, 1138 (9th Cir. 2012).
 4         C. Heck Bar
 5         In his First Amended Complaint, as in his Original Complaint, Plaintiff seeks
 6 monetary damages for alleged destruction of evidence he contends was relevant to his
 7 defense in his underlying state criminal proceedings. (FAC at 3, 9-12; Compl. at 19-21.)
 8 Plaintiff is once again seeking damages in the amount of $500,000, and punitive
 9 damages in the amount of $4,500,000.. (FAC at 7; Compl. at 7.)
10         "In any § 1983 action, the first question is whether § 1983 is the appropriate
11 avenue to remedy the alleged wrong." Haygood v. Younger, 769 F.2d 1350, 1353 (9th
12 Cir. 1985) (en banc). A prisoner in state custody simply may not use a § 1983 civil
13 rights action to challenge the "fact or duration of his confinement." Preiser v. Rodriguez,
14 411 U.S. 475,489 (1973). He must seek federal habeas corpus relief instead. Wilkinson
15 v. Dotson, 544 U.S. 74, 78 (2005), quoting Preiser, 411 U.S. at 489. Thus, a § 1983
16 action "is barred (absent prior invalidation)—no matter the relief sought (damages or
17 equitable relief), no matter the target of his suit (state conduct leading to conviction or
18 internal prison proceedings)--if success in that action would necessarily demonstrate the
19 I invalidity of confinement or its duration." Wilkinson, 544 U.S. at 82.
20         In this case, Plaintiff's claims "necessarily imply the invalidity" of his criminal
21 conviction because they ar redicated on allegations that the outcome of his trial would
22 have been different, or his sentence would have been lower, if he had been given access
23 to the evidence which the defendants allegedly destroyed Heck, 512 U.S. at 487. In this
24 Court's previous Order of dismissal, Plaintiff was informed that a claim alleging a
25 violation of Brady v. Maryland, 373 U.S. 83, 87 (1963) (holding that "the suppression
26 by the prosecution of evidence favorable to an accused upon request violates due process
27 where the evidence is material either to guilt or to punishment."), falls under the Heck
28 bar. (ECF No. 8 at 5-6.) Plaintiff now states that he is not raising a Brady claim because

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1 he has no way of knowing whether the destroyed evidence was relevant or material to
2 his guilt or innocence, and he is not alleging bad faith on the part of the government
3 actors. (FAC at,10-1 l.) A Brady claim does not require a showing of good or bad faith
 4 in failing to meet the obligation to turn over to the defense material evidence. See Brady,
 5 373 U.S. at 87 , "We now hold that the suppression by the prosecution of evidence
 6 favorable to an accused upon request violates due process where the evidence is material
 7 either to guilt or punishment, irrespective of the good faith or bad faith of the
 8 prosecution."); see also Arizona v. Youngblood, 488 U.S. 51, 57-58 (1988) (holding that
 9 'less a criminal defendant can show bad faith on the part of the police, failure to
10 preserve evidence does not constitute a denial of due rocess3
11         Plaintiff states that he is not challenging his conviction in this action. He contends
12 that "the courts have already ruled that any such error [in destroying the evidence] was
13 harmless, since Plaintiff was convicted by a `mountain of evidence," and he contends
14 that if he had a viable Brady or Youngblood claim he would have raised it in his direct
15     peal or collateral challenges to his conviction. (FAC at 11-14.) Nevertheless, the only
16 Jdamage Plaintiff has identified is the possibility that his sentence could, have been
17 reduced, or he could have been provided with a more favorable plea bargain, if the
18 evidence had not been destroyed and had been available to his defense. Thus, he is
19 alleging that the injury he suffered was a conviction or a longer sentence, exactly the
20   type of injury Heck specifically held was not compensable under § 1983 until after the
21   conviction has been invalidated. See Heck, 512 U.S. at 487 n.7 ("In order to recover
22 compensatory damages, however, the § 1983 plaintiff must prove not only that the search
23 was unlawful, but that it caused him actual, compensable injury which, we hold today
24 does not encompass the `injury' of being convicted and imprisoned (until his conviction
25 has been overturned).") (internal citation omitted).
26         In creating a favorable termination rule in Heck, the Supreme Court relied on "the
27 hoary principle that civil tort actions are not appropriate vehicles for challenging the
28   validity of outstanding criminal judgments." Heck, 512 U.S. at 486; see also id. at 479,

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 1 490 (holding a claim for monetary damages alleging that prosecutors and an investigator

 2II knowingly destroyed evidence which was exculpatory in nature and could have proved
  petitioner's innocence cannot be maintained under § 1983). Therefore, as Plaintiff was
 30
 4 informed in this Court's previous Order of dismissal, in order to satisfy Heck's
 5 "favorable termination" rule, he must allege facts which show that the conviction which
 6 forms the basis of his claims has already been: (1) "reversed on direct appeal";
 7 (2) "expunged by executive order"; (3) "declared invalid by a state tribunal authorized
 8 to make such a determination"; or (4) "called into question by a federal court's issuance
 9 of a writ of habeas corpus [pursuant to] 28 U.S.C. § 2254." Heck, 512 U.S. at 487.
10             Plaintiff has once again failed to allege facts sufficient to satisfy Heck. In fact,
     II
11 Plaintiff has unsuccessfully attempted to invalidate his conviction by filing a petition for
12 a writ of habeas corpus pursuant to 28 U.S.C. § 2254 in this Court. (See Pet. filed
13 5/26/09 [ECF No. 1] in So.Dist.Ca. Civil Case No. 09cv1324-MMA (MDD).) This
14 Court denied that Petition on the merits, . and Plaintiff unsuccessfully appealed the
15 judgment to the Ninth Circuit Court of Appeals. (Id., ECF Nos. 70, 74.)
16             Because Plaintiff's § 1983 claims challenge and necessarily imply the invalidity
17 of his current term of confinement, they must be dismissed without prejudice. See
18 Trimble y. Cit•                       49 F.3d 583, 585 (9th Cir. 1995) finding that an action
19 II barred by Heck has not yet accrued and thus, must be dismissed without prejudice so that
20 the plaintiff may reassert his § 1983 claims if he succeeds in invalidating the underlying
21 conviction or sentence). Because it is clear Plaintiff cannot at this time cure this
22 pleading defect, the dismissal is without further leave to amend in this action, but
23 without prejudice to Plaintiff to present his claims in a new civil rights action if and
24 when he succeeds in having his conviction invalidated.
25             D. Prosecutorial Immunity
26             In addition, even assuming Plaintiff could somehow overcome the Heck bar, he
27 I has once again named Defendants who are immune from suit. As the Court informed
28 Plaintiff in the previous Order of dismissal, the Court must dismiss Plaintiff's claims for


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     money damages against criminal prosecutors because they are absolutely immune from
     civil damages suits premised upon acts committed within the scope of their official
     duties which are "intimately associated with the judicial phase of the criminal process."
     Imbler v. Pachtman, 424 U.S. 409, 430 (1976); see also Buckley v. Fitzsimmons, 509
     U.S. 259, 272-73 (1993); Burns v. Reed, 500 U.S. 478, 487-93 (1991). A prosecutor is
     immune even when the prosecutor's malicious or dishonest action deprived defendant
     of his or her liberty.                    793 F.2d 1072, 1075 (9th Cir
 8          Plaintiff argu th       ro utona immunity is not appropriate                   the
 9 destruction of the evidence occurred prior to his arrest and indictment, while his case was
10 still in the investigatory stage, and not yet at the prosecutorial stage. (FAC at 16.)
11 However, "[i]nvestigators, employed by a prosecutor and performing investigative work
12 in connection with                          a entitled to the same degree of immunity
13 as prosecutors. Gobel v. Maricopa County, 867 F.2d 1201, 1203 n.5 (9th Cir. 1989),
14 abrogated on other grouds by .Merritt v. County of Los Ane`es, 8 75 F.2d 765 (9th Cir.
15 1989). Thus, Plaintiff's claims against the prosecutors and their investigators, including
16 the Doe defendant investigators, are once again dismissed pursuant to 28 U.S.C.
17     1915(e)(2)(B)(iii) & § 1915A for seeking monetary relief against defendants who are
18 immune from such relief. Because it is clear Plaintiff cannot cure this defect of pleading,
19 the dismissal is without leave to amend.
20 II. CONCLUSION AND ORDER
21          Good cause appearing, IT IS HEREBY ORDERED that Plaintiff's First
22 Amended Complaint is DISMISSED without prejudice for failing to state a claim upon
23 which relief may be granted and for seeking monetary damages against immune
24 defendants pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) and § 1915A(b)(1). The dismissal
25 is without further leave to amend.
26     IT IS SO ORDERED.
27 DATED: February 4, 2016
28                                                    HON. DANA M. SABRAW
                                                      United States District Judge

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          haul Whitmore

           -40554

          ICSP-Corcoran

          P.O. BOX 3471

         (Corcoran, CA 93212-3471



         l In Pro Se
     a

     9}                      IN THE UNITED STATES DISTRICT COURT

 10                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA



          PAUL GORDON •WHIT                             ('



                    Plaintiff,                     )    Rrevious :.3 : i4-C    24- 1S-E ;SCI



15        JEMFERY DORT, et aL.,                    )    APPROPRIATENESS OF THIS ACTION

16                  Defendants.

 7

19
               NOW. COMES PLAINTIFF, a pro se litigant, in this instant action,
19

20        a civil rights suit under 42 U.S.C. § 1933. Plaintiff prays this

21         court for a liberal interpretation of these pleadings, as well

22         as to not be held to the high standards of form and format usual.4

2J)
  0        expected of litigants with skilled and experienced lawyers.

24        (Boag v MacDougall (1982) 454 U.S. 354, 70 LEd2d 551, 102 SCt 7U )

  Haines v Kerner (1972) 404 U.S. 519, 30 LEd2d 652, 92 SCt 594)
25~
26
27
28J                                              -1-
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                       SALIENT HISTORY OF THE CRIMINAL AC

  7        In Nov 2001, the Swedish group 'Save the C4                         're,ceived €in

      l anonymous do that hard-core, bondage child Por                -aphy had been

                                                                       icial Per-Eri
 4 ,posted to a newsroup on the Internet. A senior
      Angstrom, downloaded the images, found they, wer                  t in their

                                                                        In the images
 0 i database of ''know' Dorn, and contacted the ooli
      the offender was wearing a work shirt with his                   pang name and

 0    his name visible in some of the photos. Investi                 ion snowed
 L)



             to he E 7_>ert Jensen of Tarin.Denmark, who w             arrested later
 9
       that same day. During his interrogation, he admitted to fmolestin?
10
       his stew-daughter, Jeanette, producing child porn including hard-

A ~
                                      n4 hz.t i n3 of her. and tradin and selLin

       tczese images of his perverse actions to more than 80 aeoole

       the Internet. Jensen's wife, Bente, confessed to similar actions

       with her daugnter. Jensen was sentenced to two-years witn half-

       time for good behavior, even though qe was convicted of a simila

       number and type of charges to Plaintiff, who received 457-years

       to life.
18
            Jensen cooperated with officialt very actively, and in Januar y
19
       the first two Americans were arrested, Lloyd Emmerrson of Clovis
20

21     and the Plaintiff.

            Guerra travelled to Denmark at least two times in the SDrin
22
       of 2002 and had numerous communications (phone calls, e-mails,
2J
        pear-to-peer chats) witn Danish officer Underbjerg. Under Underb erg
24
        authority, the computer from the Danish investigation, along
25
        with almost all the reports and interviews, were destroyed in
26
        May of 2002.
27

281                                            - 2 -
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         II




                                   PROPRIETY OF THE INSTANT ACTION
     1
                  On direct appeal and federal habeas (28 USC § 2254), now-

              Plaintiff Whitmore raised several grounds for relief , including

    4 issues in the foundation and chain of custody of the Danish evid4noe

              All these were denied as 'har;nLess' error if any error at all.

              'Even if Petitioner could demonstrate authentication issues arising
    0
              from the fact that his activities were first discovered in a

              foriegn country, or were introduced from a 'cloned' hard drive
    U
              rather than the original, an expert witness testified that the

              videos introduced at trial were shot live and were not compositel,
10
              that is, they accurately depict tine interaction between the indi4dL

              seen in the videos." (ti:-iitnore v Cate, Report and Reloamandationls,

              -Dps 31-32) "Ina court also finds that any possible constitutional

              violation was harmless." "'. .. this court has concluded that,

              even assuming errors occured, they were harmless.:' (Id. pps '0-r1)


1=
                         NEITHER A BRADY NOR YOUNGBLOOD CLAIM CAN
                    (A-a-3v v Nd . (1903) 373 U.S. 83: Arizona v Youngblood (19881

19            488 U.S.    51)                                                        J

                    For a oetition`r to raise a brady claim sufficently, he mus
20
              show that: (1) Inc oros`cution tea:n had the evidence, knew

               it was, and failed to disclose it; (2) The evidence not present d

               at trial would nave had a significant effect on the jury's deci ion

2              i.e. that it's suppression was prejudicial. In the instant case

25             there is NO evidence to review to decide if the prosecution tea.

               should nave known that it was exculpatory or impeachment -mater al
26
               and should nave been discovered to the defense. Also since thel
Li                                                                                   s

LU
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          is



          :evidence in question, the computer AND it's cloned drive AND

  '-           the reports, is destroyed, there is no way to decide if the suppr~ ssi

      1 1of tree evidence was in any way prejudicial. In fact, the courts                              I

      A        have already ruled that any such error was harmless, since the

               Plaintiff was convicted by a 'mountain of evidence' not just

               the computer images.

                   Plaintiff has raised no such Brady Maim, nor did his appoint d

               counsel on appeal suggest such, because a Brady action does not

               lie in this case.



                    Similarly, a Youngblood claim cannot be raised either. To                      i

               successfully prosecute a Youngblood claim on appeal or nabeas,

               the petitioner must snow: (1) Police acted in 'bad faith', wnicn;

               is a nigher standard than deliberate indifference or gross negli Inc

               standards; and, (2) Ine evidence was destroyed by tne people

               charged with protecting it. Justice Stevens, in his concurring                  j

               opinion in YQun blood, further stated that since the police had

               as much interest in preserving the (DNA blood) evidence                as did

               the defense, there is no showing of 'bad faith.'
14
20             •    Here too, in the instant case, there is no direct showinz

21    L        oi 'bad faith.''ite evidence destroyed was the source of all
                                                          so the police had as tiuch inter st
                the inculoable evidence as wall

LJ              as the defense in maintaining it. Because the Danish police aote ,

24              precipitously, and the US officers failed to act at all               the

2-0             destroyed evidence cause the prosecution to spend several days

26              and present expert witnesses to 'get arround' the foundational

L7              and criain of custody issues their negligence raised.

26                                                    - 4 -
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                                                                                                    1



                               In a recent case from the Ninth Circuit, US v Zuniga-Garcia

                        (CA9 2012) 472 Fed. Appx. 498, a successful Youngblood challenges

                        showed the requirements to sucessfully prosecute such a claim

             4          on appeal. Key differences in this case, from the instant one,

                        are that the destroyed evidence is known - a Large construction

                        'Dolt - and that evidence factored heavily in the case. In the

        ,;              instant case, the potentially exculpable evidence is not known

                        but can be guessed at only. None of the `missing' evidence was

             i li       used at trial, only secondary sources were used.



                                           HECK DOES NOT BAR BRADY CLAIMS DE FACTO

                               (Hark v Hu.zo:zrey (1994) 512 US 4??, 129 LEd2d 33, 114 SCt
    I
                        23o4)

                                In two recent, aooelLate cases in the federal system, Brady

                             Laths             v 3 stave been allowed to stand even tRouzi'n, the
                                     under 1`J 6

                        criminal convi:t ion was           3i overturned.

                                In _Poyentud v City and County of New York (CA2 2013) 750

                        r.3d 121, the Plaintiff was allowed to proceed in nis 1953 actib Ii

                        for a Brady violation even tnoug               he remained convicted. In tni6

                        case, Poventud did receive an overturn for the Brady issue, but

    21                   then plead guilty to a lesser offence. Since the plea bar ain

    2                    prevented the successful overturn on apDeal, the Second Circuit
                                                                             Y



                         Court found that the 1933, Brady claim did NOT necessarily imp )
                         Y




    24                   the invalidity of the criminal conviction.'°Criticall , the [Hi 'r

    25                  -Court read Wolf to permit prisoners to bring a § 1983 claim fo

    26                   using the wrong procedures, not for reaching the wrong results '

     7                   (@ 129, citing Heck, supra @ 482-483) ltetk brought suit allegi

    28                   wrongful confinment, Plaintiff in the instant suit claims, as
         f
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         did Poventud, that the process of evidence collection by the

         investigators (including tne prosecutors) denied Plaintiff's

         "Due Process rights under the 6th and 14th Amendments. ;°Poventud'sl

     4 claim is one of process." @ 138. "Even Heck acknowledges tnat
      i                                                                              r
         'many unreasonable searches could lead to § 1933 actions that

     0 exist indeoendant of the termination of the criminal proceedings.''

         !L 132, citing Heck @ 487 n. 7.

     0          Pare in the Ninth Circuit, Jackson v Barnes (CA9 2013) 749

     G    F.3d 755, found that the Brady claim raised on 1983 did not confli c t

          with the criminal conviction that remained in place. Here, there

          was no overturn for tfte Brady only that the plea bargain Drevente.

          an   r3T)D?al .

                Sit:{iLak to Jackson, sapra, t is instant case cannot be broug iE

          on habeas, because trta criminal Droceedin s have been eexnausted

          and, even if a Brady or Youngblood claim raised, tne evidence
                                                                                 I
          would nave had no difference on the outcoie. The courts all ruledi

          that if error occured, the error was harmless. Just as in -the         i

13 plea barzain, blocking the conflict between civil and habeas.

19 the finding of harmless error blocks the conflict between the

20        criminal conviction, the appeallate ruling, and any finding by

21        the court on civil rights.

22


LJ               THE HECK BAR APPLIES

                                     CIVIL
25              (Heck supra) ... where a prisoner

26        challenges the legality of his conviction - so that if he were

27         to win his case the state would be obligated to release him even.

23                                              -6-                              1
                          Case: 16-55264, 05/27/2016, ID: 10001933, DktEntry: 6, Page 35 of 40

•                  1,                                                          _                         I


                    ~                                                                                1
                        If he has not sou2nt such relief - tne action is classified as

                        one for habeas coraus and as suzn is subject to the exhaustion

         ,, of state remedies.'' (@477 , internal citation omitted) Clearly,

         41 the Hign Court wanted to define habeas corpus for criminal relief

         5 relief from conviction or length of sentence, and § 1933 for

                        relief from other constitutionally defined rights violation(s).

                        In Wolf v McDonnell (1974) 418 US 539, 41 LEd2d 935, 94 S.t 2903,

                        the High Court found that, "[1983 claim raised] did not call
              is                                                                                     I
                        into question the lawfulness of plaintiff's continuing confinemenk

                        Instead, Wolf caLleiged the process tne prison system used in

                        the determination of the good-time credits. Since the damages

                        were for a Due Process, civil rights, violation, not wrongful

         H              custody, not tne credits t1e.'i13eLves, tne case was allowed to

             Ii         proceed forward.

                            In t'- instant case, tne Plaintiff does not ague that ne
                                                                         c                       r
             "                             pia .ntiit :has no ability to ..~alle~~e this
                        is held illegally; Plaintiff
                        cricaina-L conviction, nor length of sentence, based on evidentiary

                        issues. r{ad a Brady violation occured, Plaintiff would nave rais4 A

                        it on federal habeas. Had a Youngblood violation occured, Plaint4 Ef

                        would nave raised it on federal habeas. Even if an error could

                        oe shown, courts state and federal nave already ruled such error

                        harmless, i.e. there is no chalLenge to the conviction nor lengt

                        of sentence.




    26

    27

    2J
                                                              _ 7-
            Case: 16-55264, 05/27/2016, ID: 10001933, DktEntry: 6, Page 36 of 40




       1
                 ABSOLUTE IMMUNITY OF PROSECUTORS AND INVESTIGATORS DOES

                                  NOT APPLY TO THE INSTANT CASE

                Absolute immunity of prosecutors to Brady claims began with

           the High Court decision. I.nbler v Pachtrnan (1974) 424 US 409,

           96 SCt 984. However, this is not a Brady claim, as there is no

   0 !evidence to be argued, no evidence suppressed that the orosecutori

           had and chose not to reveal. In addition, the High Court has

           (allowed a Brady claim to stant under § 1983 against a prosecutor
   U

            when the Bradyclaim originated from either investigatory or

10 police consultations on legal matters. (Van de Kamp v Goldstein

           (2009) 555 US 335, 172 LEd 706, 129 SCt 855, overturned as Brad

       ,was supervisory and Dart of nis arosecutorial duties.) Similar

            findings have been made in Broa. ► v Bogan (CA9 2003) 320 F.3d

            1023 and Ceballos v Garcetti (CA9 2003) 361 F.3d 1165 in the

.1.:
            Ninth Circuit.

                 In Cor i- v inonosoa (2010) 563 US               , 13L                 ~g--

            Court found that a prosecutor can be held for failure to train

  J
            supervised DLos 'utors in Brody disclosures, but only if a l nattp n'

            of errors is snoan, not a single incident. In the Ninth Ci aui

20           rosecutors have bean found to NOT nave absloute immunity in

01, Brady and Gi'?lip violations during tne

7?          the case. (Gantt v City of Los Angeles CA9 2013) 717                   3d 702;

                                                                   ~a
            Ceballos, supra) '`Suppression of evidence violates ue Pros

            when evidence is material to guilt or punishment, irrespectiv

25 of good or bad faith..."(Tennison v County of SF. CA9 2 Q8) 570

            F.3d 1078, @ 1088, citing Brady, supra)
2~J



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.L J
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          (CAY 1993) 1993 US App LEXIS 24454; broan, supra; Buckly v Fitzsirn~ tons

          (1993) 509 US 259, 113 SCt 2606; others as well) Further, the
          civil rights violation, n i preserving the evidence for further

     (forensic analysis, constitutes a Due Process violation even witnouj
     •

          `bad faith` from tne Defendants. This violation ocured years

        !before trial, before the preliminary trial, and before felony

          arraignment. There is no immunity of liability for GUERRA nor

          DOES 1-5.



                                     SUMMARY AND CONCLUSION

     Ii
           For the above cited reasons, this case is distinguishable from

            ec    Whereas        argue. that .his incarceration was the damages

           accrued from the civil rights violation, the Plaintiff in tne

           instant case argues that the Due Process violation is tree-standing,

 -1~ and the damages exist solely from the potential for furtner civil

           rights violations wile Plaintiff is incarcerated or living in

           California. Further, hecl argued that the denial of evidence

           was the cause for action, wh ereas Plaintiff argues tzat tae Drocpss
t J '

           of not preserving the evidence, allowing the Danish Police to
19r
20         destroy it, is the cause for action. Plaintiff is insulated in

, j the instant action from oonflicct with his criminal conviction
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22         as the courts have already ruled that even if a Due Process

           violation existed, it was harmless beyond a reasonable doubt.
Li

                 Prosecutors do not have absolute immunity for non-prosecutor!
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25          functions, such as investigations and advice to police during

            investigations. Even if they did, investigators have never had
26
            absolute immunity to procedural liability.

                                                  - 10 -
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              Under a 5 1983 civil rights action, all the Plaintiff trust

         snow is that eviden,--e material to the 'guilt or puniszment' was

         destroyed, and that such destruction cane from (or was allowed

         in the instant case) because of deliberate indifference. (Jackson

         supra) That tne evidence was destroyed is documented in the trim,

         transcripts (Exhibit A). Deliberate indifference can be inferred,
     I
         from the cavalier attitude regarding Plaintiff (nee Defendant's)

         civil rights at trial, and GUERRA's several ';misstatements' durig

         trial.

               Plaintiff nas made a ?ri.na facie sho-dine that, should the

         facts alleged be proven, he would prevail, by a oreoondecance

          of the evidence.



          I deduce under the penalty of oerjucy unl                 tie laws of tne Unit

          States tact the foregoing is both true and correct.
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                                                    Re.soectfully Submitted,

IJ



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                         CERTIFICATE OF SERVICE



Case Name:       Whitmore                V. Dort, et al.

9th Cir. Case No.:    16-55264


IMPORTANT: You must send a copy of ALL documents filed with the Court and
any attachments to counsel for ALL parties in this case. You must attach a copy of
the certificate of service to each of the copies and the original you file with the
Court. Please fill in the title of the document you are filing. Please list the names
and addresses of the parties who were sent a copy of your document and the dates
on which they were served. Be sure to sign the statement below.


I certify that a copy of the Appellant's Opening Brief, Exhibits
                         (title of document you are filing)
and any attachments was served, either in person or by mail, on the persons listed
below.                               /--~



                                       $      rE '                    VT V
                                       Notary NOT required

Name                             Address                          Date Served
NOTE: No order to serve Defendant's has been made, so there is
no 'counsel for the Defendants' to be served.
